Case 2:04-cr-2040l-SHI\/| Document 73 Filed 08/01/05 Page 1 of 2 Page|‘D 71

F|l.ED BY ,;{Q_ D.C.
IN THE UNITED STATES DISTRICT COURT

FOR THE wESTERN DISTRICT 0F TENNESSEE 05 AUG -l AH|O= 33
wESTERN DIVISION

CLEHK,U. n r1 wm
UNITED STATES oF AMERICA, W/D OF ff\§ kli*dPPHS
vS. No. 04-20401~Map

HENRY A . WILLIAMS ,

Defendant.

 

ORDER OF REFERENCE

This matter is referred to the magistrate judge for a
hearing to determine if defendant Henry A. Williams qualifies for

appointment of counsel for appeal purposes under the Criminal

Justice Act.
It is So ORDERED this 25 L}%ay of July, 2005.

J//</”"“¢-`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

This docL.ment entered on the docket sheet ln compliance
with lee 55 and/or 32be FRCrP on

 

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Honorable Samuel Mays
US DISTRICT COURT

